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             IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF NEW JERSEY




IN RE: JOHNSON & JOHNSON TALCUM                 No. 3:16-md-02738-MAS-RLS
POWER PRODUCTS MARKETING, SALES
PRACTICES, AND PRODUCTS LIABILITY
LITIGATION




  DEFENDANTS JOHNSON & JOHNSON AND LLT MANAGEMENT,
   LLC’S OBJECTIONS TO THE SPECIAL MASTER’S ORDER ON
        DEFENDANTS’ MOTION TO COMPEL MR. HESS’S
                 DEPOSITION TESTIMONY
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      Defendants Johnson & Johnson And LLT Management LLC submit these

Objections To The Special Master’s Order On Defendants’ Motion To Compel Mr.

Hess’s Deposition Testimony. See ECF 33067.

                                  INTRODUCTION
      For months, Defendants have sought nothing more than their fundamental

right under the rules of evidence to explore Plaintiffs’ case-defining asbestos theory.

It is undisputed that this theory rises and falls on the reliability of Plaintiffs’ testing

expert, Dr. William Longo’s, methodology. Dr. Longo has testified repeatedly that

to understand his method and conclusions that Defendants’ talc supposedly contains

“chrysotile” asbestos, one cannot simply review his report, repeat his alleged method

or even rely on deposition questions and answers. Instead, one must be looking live

down his microscope. He has even admitted that looking live down his microscope

is the only way to justify why his “entire analysis” isn’t “wrong”. Ex. E, Longo Clark

Hr’g (Vol. I) 118:20-119:3.

      To repeat what is inherent in Dr. Longo’s own testimony, there is no other,

post-facto, photographic way to conduct similar discovery into this core issue, not

even with Dr. Longo’s own photographs. See ECF 32817 at 4 (“Because these

observations are subjective and unrepeatable, no one can retroactively observe what

Mr. Hess saw – not even Dr. Longo.”) (quoting Hess, et al. v. American Int’l Indus.,

et al., No. 1:24-CV-02195 ECF (N.D. Ga. June 3, 2024)). Yet Dr. Longo is not the



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one looking down the microscope, his analyst Paul Hess is. Mr. Hess is in fact doing

all the work and is the one who actually determines whether a particle is chrysotile

or not.

      Defendants have been rebuffed time and again in their efforts at the most basic

discovery of Dr. Longo’s method and resulting opinions. And so, they came to the

Court with two, simple requests:

      1.     Allow Defendants to look down Dr. Longo’s microscope and inspect
             his method as it unfolds in real time; and

      2.     Allow Defendants to depose Mr. Hess, the man who Dr. Longo himself
             identified as the expert in PLM microscopy and the individual who
             takes the critical look down the microscope and reports what he sees,
             the very foundation of Dr. Longo’s expert opinion.

      The Special Master denied Defendants’ first request, which issue is on appeal

before this Court. The Special Master expressly stated that he did so in part because

he granted Defendants’ second request and ordered a deposition of Mr. Hess. That

deposition, for all practical purposes, has yet to occur.

      In the Special Master’s first ruling permitting the deposition of Mr. Hess, he

explained the need and importance of Mr. Hess’s testimony. He stated: “Hess is

important because Hess, not Longo, is the analyst that conducted the PLM tests that

support Longo’s opinions. Hess, not Longo, did the microscopic analysis required

under the PLM methodology.” ECF 32817 at 2 “Hess, not Longo, has decades of




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experience doing PLM testing.” Id. at 1. He even said that “Defendants persuasively

argue” that “Mr. Hess is the one making all the key decisions.” Id. at 5

      The Special Master’s original order also expressly stated that Mr. Hess is an

expert. He explained that “[d]efendants’ subpoena seeks to depose Paul Hess, a non-

testifying expert. Id. at 2. He described Mr. Hess as the “expert Longo will rely upon

to support his opinion that defendants’ talc products contained asbestos.” Id. at 3.

      Critically, the Special Master ruled that the “the how and why of the testing”

was to be “covered at Hess’s deposition” since it is “important testimony.” Id. at 3

(emphasis added). And he said that a purpose of the deposition was so Mr. Hess

could “explain the basis for MAS’s findings.” Id. at 4. The order imposed no

limitations at all on the deposition.

      But then shortly into the start of his deposition, Mr. Hess was instructed not

to answer 40 times, almost always on the grounds for “calls for expert opinion.” In

a subsequent order challenging these and other improper instructions, the Special

Master upheld nearly all the instructions not to answer. One need only read the two

orders side-by-side to see that they are entirely irreconcilable. Indeed, the new order

is internally inconsistent with itself, and placed serve limitations on Mr. Hess’s

deposition without any reasoned basis.

      The Special Master ruled without explanation that Mr. Hess could not be

deposed in the manner that a testifying expert would be deposed, even though one


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of the original rationales for permitting his deposition at all was that Mr. Hess

worked so closely on the analysis, it was as if he were a testifying expert. The Special

Master then limited the deposition to only factual questions. And in his page-line

rulings, he further limited even the categories of factual questions permitted to be

explored until almost nothing remained to ask. No longer could Defendants question

Mr. Hess regarding the “how and why” of the case-defining testing at issue—

questions which had only a month before been deemed “important testimony” that

was to be “covered” at the deposition.

      Most egregiously, the Special Master invented a rule that Defendants could

not ask any questions that involved any comparison of testing methods and results

over time. The Special Master never provided any rationale or justification for this

newly developed rule, which severely handcuffs Defendants’ ability to fully and

legitimately question Mr. Hess on his MDL testing.

      For example, for the 2019 report in this MDL nominally authored by Dr.

Longo, Mr. Hess analyzed dozens of samples of Defendants’ talc products using

polarized light microscopy and never found any chrysotile asbestos. But in a 2024

report, Mr. Hess’s polarized light microscopy analysis all of a sudden found

“chrysotile” in every single sample analyzed. Obviously, a critical issue for

exploration at the deposition is how and why Mr. Hess changed his methodology to

yield these differing results. Mr. Hess is the only one who can answer this question


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because he is the only one in both instances actually looking down the microscope

and determining whether a particle is or is not chrysotile. If Defendants’ talc is full

of chrysotile, how did he miss it over and over and over again when he was looking

down the microscope the first time around? But the Special Master prohibited any

question into this topic based on his “no-test-comparison rule” even though the

questioning involves all testing Mr. Hess himself did and for this very MDL.

      As another example, Defendants have contended that Mr. Hess is suppressing

the illumination settings on his microscope which distorts the color of the images—

the critical component of the analysis. Mr. Hess is the one to ask questions about

this issue because he is the one with his eyes on the microscope, he is the one

controlling the illumination settings, and he is the one taking the images that are

produced to the Defendants. Mr. Hess claimed he used the maximum illumination

setting on his microscope, meaning the images were supposedly as bright as they

could possibly get. In order to challenge that assertion, Defendants asked Mr. Hess

if his microscope was capable of taking an image as bright as a sample polarized

light microscopy image counsel showed him (which demonstrates that what Mr.

Hess said is not true). Again, the Special Master prohibited this entire topic under

the “no-test comparison rule.”

      Defendants even tried to ask Mr. Hess why Mr. Hess’s own polarized light

microscopy images of another company’s talc were so much brighter that his MDL


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images of the J&J talc set forth in the MDL report if his illumination settings were

truly at maximum. Yet again, the Special Master invoked his “no-test comparison

rule.” There are dozens more examples.

      Every single question Defendants asked was relevant to the testing Mr. Hess

conducted at issue in this MDL. Every single question went to the “how and why”

of the testing that the Special Master originally stated was “important.” Yet the

deposition was restricted by arbitrary limitations, and no basis for those limitations

has ever been provided.

      Given the impossible position Defendants have been put in, a position created

by Dr. Longo’s own methodology and testimony, there are only two appropriate

paths forward:

           1. Mr. Hess immediately sits for deposition and answers questions in line
              with the rules of evidence; or

           2. Dr. Longo’s opinions concerning PLM testing and chrysotile asbestos
              are stricken.
                                 BACKGROUND

      A.      Dr. Longo and MAS

      Plaintiffs’ expert Dr. Longo is the President and a 75% owner of his lab, MAS.

For years, MAS never found a type of asbestos known as chrysotile in cosmetic talc.

See Ex. A, Longo Rimondi Tr. 140:14-141:8. MAS then began using a new PLM

method—despite Dr. Longo previously testifying that “the PLM method is not

appropriate to do an evaluation for these types of products,” i.e. talcum powder

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products. Ex. B, Longo Weirick Tr. 2921:25-28. Now MAS claims to find chrysotile

using PLM in nearly 100% of cosmetic talc bottles it tests. Ex. C, Longo Forrest

Dep. 138:9-18. Indeed, Dr. Longo says that “[a]ny bottle that was sold in North

America that used a mine source for cosmetic talc in North America will have some

level of asbestos in it.” Ex. D, Longo (Vol. III) Eagles Dep. 449:12-21.

      B.     PLM Analysis
      The type of PLM analysis MAS is performing turns on accurately identifying

the color the particle appears under the microscope after coating it in a particular oil.

Ex. E, Longo Clark Hr’g 48:4-8; Ex. C, Longo Forrest Dep. 72:15-17, 75:23-76:9.

The analyst matches the color they identify to a color chart, which is used to identify

that color’s corresponding wavelength of light. Ex. E, Longo Clark Hr’g 48:9-18.

Then the analyst matches the wavelength to a “refractive index” (or “RI”) value

using a particular set of tables. Id. at 48:19-49:1. And then the RI value used to

identify what mineral the particle is.

      The graphic below reflects the steps for this process for a reference standard

for chrysotile asbestos from the International Standards Organization.




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Id. at 48:14-18, 113:12-18.
      Because Mr. Hess records the RI values for the particles that he claims are

chrysotile, this process can be reversed to determine the color he claimed to see

under the microscope. For example, Mr. Hess reported the yellow particle below as

having an RI value of 1.564, which corresponds to purple. Id. at 110:22-111:23.




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See Ex. F, MAS Valadez Rpt. at 33.
      C.     PLM Requires Specialized Expertise And The Judgment Of The
             Analyst

      Dr. Longo has testified that in order to identify asbestos in talc by PLM, there

“has to be an analyst doing the PLM that has experience in looking at these types of

materials, so a lot of years” because doing the analysis properly “just depends on the

experience and time and individual doing it.” Ex. G, Longo Rimondi Dep. 125:11-

13, 124:20-21. In fact, he’s said an analyst “would have to have decades of

experience.” Ex. H, Longo Reyes (Vol. II) Dep. 129:12-13. In Dr. Longo’s view,

using a “a regular PLM setup with a PLM analyst that’s not experienced in looking

at this, he may never find it.” Ex. I, Longo Zimmerman (Vol. II) Dep. 374:16-18.

      That’s because the ability to accurately identify the color of a particle—a key

PLM step—is a “judgment that comes from years and years of experience.” Ex. C,

Longo Forrest Dep. 73:11-13. Dr. Longo even believes that whether PLM analysis

is “subjective depends on the analyst who’s performing the analysis.” Ex. J, Longo

Streck Dep. 123:2-6; see also id at 123:14-15 (testifying that the level of subjectivity

“just depends on your training and how much experience you’ve got.”).

      D.     Dr. Longo Is Not A PLM Analyst.

      In 2018, Dr. Longo testified: “I haven’t done PLM in such a long time.” Ex.

K, Longo Allen (Vol. I) Dep. 61:2-3. At least as of 2019, he had never “personally

analyzed a [talc] sample for the presence of asbestos using PLM.” Ex. L, Longo


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Young Dep. 85:18-20. As he put it then, “I don’t do PLM analysis.” Id. at 86:5-6.

When asked if he was “an expert in PLM,” Dr. Longo responded only: “I think I

know more than the average layperson.” Ex. M, Longo 2/5/2019 MDL Dep. 262:13-

15.

      Dr. Longo has not taken any courses on using PLM to detect asbestos. Id. at

261:9-13. He has not taken any classes in PLM dispersion staining, the specific

color-based PLM methodology that MAS claims to follow. Ex. N, Longo Lanzo

(Vol. II) Dep. 278:8-10. He describes himself as “self-taught” in PLM. Id. at 278:11-

13.

      Rather, Dr. Longo views himself as an “electron microscopy person”—also

referred to as “TEM” (transmission electron microscopy). Ex. O, Longo Zundel Dep.

182:20-24. He has historically “really considered [him]self a TEM analyst” because

he’s “done more TEM than anything.” Ex. E, Longo Clark Hr’g 18:8-11. That kind

of microscopic analysis “is not as complicated as PLM.” Ex. O, Longo Zundel Dep.

at 182:20-24. But Dr. Longo has refused to test Defendants’ talc for chrysotile by

TEM, even though using that type of microscope would make it “fairly simple to tell

whether or not you are, in fact, looking at chrysotile as opposed to talc”—rather than

relying on subtle color gradations. Ex. E, Longo Clark Hr’g 42:10-14; see also Ex.

P, Longo Clark (Vol. II) Dep. 206:7-11.




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      Dr. Longo does not do the PLM analysis at issue in this MDL himself, but

rather relies on Mr. Hess, and Dr. Longo then puts Mr. Hess’s work into the reports

in this MDL.

      E.     Dr. Longo Relies On Paul Hess For PLM Analysis.
      Paul Hess has a degree in geology. Ex. Q, Longo Fong (Vol. II) Dep. 214:1.

He has been conducting PLM analysis for almost 40 years, and has worked at MAS

for 33 of them. Ex. R, Longo Krich Dep. 53:3-8. Mr. Hess was trained and took a

course in PLM at McCone Laboratories, which Dr. Longo has said was “literally the

best lab in the country back in the 1970’s and ‘80s.” Ex. S, Longo Hayes Tr. 181:6-

11. In fact, Mr. Hess was taught by the lab’s namesake, Walter McCrone, who “was

the best optical microscopist in the world” for his timeframe according to Dr. Longo.

Ex. T, Longo Von Salzen Dep. 148:13-18; see also Ex. R, Longo Krich Dep. 53:17-

22 (Walter McCrone taught course).

      Testing talc for chrysotile by PLM has been “really up to one person” at MAS:

Paul Hess. Ex. O, Longo Zundel Dep. 182:3-11. Every time MAS has reported

finding “chrysotile” by PLM in Defendants’ talc products, Mr. Hess has been the

analyst whose name appears on the analyst worksheets. See, e.g., Ex. F, MAS

Valadez Rpt. at 32 (“Analyst: Paul Hess”).

      It can take Mr. Hess “anywhere from two to six hours” to analyze one sample

by PLM. Ex. U, Longo Weirick Dep. 21:18-21. Mr. Hess is the one “the one who’s



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looking through the PLM microscope to make the determination of the particle’s

color.” Ex. J, Longo Streck Dep. 49:14-19. Mr. Hess is the one who makes “a

determination to match it to a refractive index.” Id. Sometimes those values are

reported in a range rather than a specific number because “Mr. Hess thinks it’s more

accurate to do it that way.” Id. at 108:23-109:3. Mr. Hess is also the one who selects

which images make it into the report. Ex. V, Longo Alexander-Jones Dep. 134:24-

135:1.

         Dr. Longo has said that he will on infrequent occasions be called over to look

at a particle, but that Mr. Hess is the one “the person that [performs the analysis]

from start to finish.” Ex. E, Clark Hr’g (Vol. I) 44:10-20; see also Ex. L, Longo

Young Dep. 86:21-86:6 (Dr. Longo admits he “periodically will be asked by one of

the analysts to take a look at this, what do you think”).

         In short, Mr. Hess is the one “identifying the particles” by PLM. Ex. V, Longo

Alexander-Jones Dep. 135:3-8. As the Special Master put it: “Hess is the lead person

at MAS who conducted PLM chrysotile analysis on J&J’s talc and whose name is

on MAS’s reports that will be relied upon at trial.” ECF 32817 at 2. And the slides

with the talc samples that Mr. Hess analyzed are discarded shortly afterward because

“they don’t last within a couple of weeks.” Ex. J, Longo Streck Dep. 53:4-13.




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       F.     Procedural History
       In April, Defendants sought to depose Mr. Hess. The PSC filed a Motion to

Quash Defendants’ subpoena, arguing that Mr. Hess, “a non-testifying expert,” was

shielded from discovery by Rule 26(b)(4)(D). See ECF 32195-1 at 8.

       Rule 26(b)(4)(D) states that “[o]rdinarily, a party may not . . . discover facts

known or opinions held by an expert . . . who is not expected to be called as a witness

at trial.” However, “a party may do so” if they “show[] exceptional circumstances

under which it is impracticable for the party to obtain facts or opinions on the same

subject by other means.” Id. The PSC argued “exceptional circumstances are not

present here.” Id.

        In his order denying PSC’s Motion to Quash, the Special Master rejected that

argument. ECF 32817 at 8. The Special Master agreed with Defendants that

exceptional circumstances exist. Id. at 6. The Special Master further agreed that

“substantial authority exists for the proposition that where a testifying expert and his

assistant closely collaborate, like was done here, Rule 26(b)(4)(D) does not apply”

in the first place. Id. at 7.

       In other words, the higher standard for a deposition of non-testifying experts

does not apply when that expert’s work is so integral to the substance of the disclosed

report. It is as if he is a disclosed expert. The Special Master explained:

“[D]efendants have shown that Hess and Longo closely collaborated, that Longo



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substantially relied on Hess, and that Hess made key decisions regarding how

Longo’s tests were conducted and interpreted.” Id. “As a result,” he went on, “the

how and why of the testing, which will undoubtedly be covered at Hess’s deposition,

is important testimony.” Id. at 3. The order placed no limitations whatsoever on Mr.

Hess’s deposition.

      Yet when defense counsel sought to question Mr. Hess about how his

methodology has changed such that Mr. Hess’s prior PLM testing in the MDL never

found chrysotile when his newer PLM testing always found chrysotile, Plaintiffs

counsel called the Special Master while he was in the middle of a mediation. The

Special Master said that Defendants could not ask any questions comparing tests. Id.

at 43:10-12 (“[T]hat’s not the purpose of this deposition, not to compare old tests to

new tests.”). Despite the fact that Defendants raised these differing test results in

their original briefing (ECF 32683 at 1), the only rationale the Special Master gave

for this no-comparison rule was that Defendants supposedly “didn’t say anything

about asking him to compare old to new” in their brief arguing why a deposition was

warranted. Id. at 43:16-17. Mr. Hess was then instructed not to answer forty

questions, completely obstructing the deposition. See generally Ex. Z (Chart).

      Defendants filed a motion to compel further deposition testimony of Mr. Hess.

ECF 32993. The Special Master largely denied the motion except for a very narrow

handful of questions. ECF 33067. He doubled down on his “no comparison rule,”


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stating that “questions asking Hess to compare test results” are “off-limits.” ECF

33067 at 2. Despite stating “the how and why of the testing” was to be “covered at

Hess’s deposition” since it is “important testimony” in his first Order (ECF 32817

at 2), at the Special Master ruled in his second order that only “how and why

questions [that] fit into these parameters they are permitted” (ECF 33067 at 3).

         And despite his original order stating that “Hess, not Longo, has decades of

experience doing PLM testing and is the expert Longo will rely upon to support his

opinion that defendants’ talc products contained asbestos” (ECF 32817 at 1), the

Special Master stated in his second order that “the SM ruled that Hess’s deposition

was authorized to fill in the factual gaps in Longo’s testimony” (ECF 33067 at 2).

He issued page-line rulings on each instruction not to answer, which limited even

questions going to factual issues of how Mr. Hess implemented his methodology.

ECF 33067 at 6-7. A chart matching up the Special Master’s page line rulings with

the testimony at issue is attached as Exhibit Z.

         Defendants now bring their objections to the Special Master’s order to this

Court.

                                LEGAL STANDARD

         This Court “shall review the findings of the Special Master according to the

standards of review set forth in Fed. R. Civ. P. 53(f)(3)-(5).” ECF 704 at 3. “The

court must decide de novo all objections to findings of fact made or recommended



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by a master.” Fed. R. Civ. P. 53(f)(3). “The court must decide de novo all objections

to conclusions of law made or recommended by a master.” Fed. R. Civ. P. 53(f)(4).

“[T]he court may set aside a master’s ruling on a procedural matter only for an abuse

of discretion,” Fed. R. Civ. P. 53(f)(5), meaning that the Court has “a definite and

firm conviction that [the special master] committed a clear error of judgment in the

conclusion it reached.” United States v. Andrews, 12 F.4th 255, 259 (3d Cir. 2021).

      A witness may be instructed not to answer a question only when necessary “to

preserve a privilege, to enforce a limitation ordered by the court, or to present a

motion under Rule 30(d)(3)” for bad faith questioning that annoys, embarrasses, or

oppresses the witness. Fed. R. Civ. P. 30(c)(2). Those are the only “three narrow

exceptions to the general rule that a witness must answer the questions asked at a

deposition.” Williams v. Benshetrit, 2020 WL 3315982, at *3–4 (E.D. Pa. June 18,

2020).

      So for example, courts routinely hold it is not proper to instruct a witness not

to answer based on all manner of grounds outside those three limited categories, such

as: relevance, Carbone v. Carbone, 2023 WL 3452333, at *2 (D.N.J. May 15, 2023),

calls for speculation, Specht v. Google, Inc., 268 F.R.D. 596, 599 (N.D. Ill. 2010),

calls for a legal conclusion, Quick v. Township of Bernards, 2023 WL 4237059, at

*5 (D.N.J. June 28, 2023), and calls for expert testimony, see, e.g. Bell v. Lee, 2017

WL 1316938, at *3 (N.D. Cal. Apr. 10, 2017); Lucas v. Breg, Inc., 2016 WL


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2996843, at *3 & n.3 (S.D. Cal. May 13, 2016); Bordelon Marine, Inc. v. F/V

KENNY BOY, 2011 WL 164636, at *4 (E.D. La. Jan. 19, 2011); Hochstein v.

Microsoft Corp., 2009 WL 2616253, at *4 (E.D. Mich. Aug. 21, 2009).

                                   ARGUMENT
I.    The Special Master’s Original Reasoning And Findings Warrant An
      Unrestricted Deposition Of Mr. Hess.

      In his original order granting Defendants the deposition of Mr. Hess, the

Special Master found that “Defendants have established that Hess has key firsthand

information regarding the tests upon which Longo relies.” ECF 32817 at 3. The

Special Master noted it was “Hess, not Longo, has decades of experience doing PLM

testing and is the expert Longo will rely upon to support his opinion that defendants’

talc products contained asbestos. Hess, not Longo, did the microscopic analysis and

identified asbestos particles in defendants’ products by PLM.” Id.

      It was for these reasons, the Special Master stated that “the how and why of

the testing, which will undoubtedly be covered at Hess’s deposition, is important

testimony.” Id. And the Special Master agreed with Defendants that Hess’s work

and testing is critical to Longo’s conclusion that defendants’ talc products contained

asbestos.” Id.

      The Special Master further agreed that Mr. Hess’s “deposition is necessary”

because Dr. Longo has testified “he is unable to answer certain of defendants’

questions about his conclusions without looking through a microscope.” Id.


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Therefore, the Special Master determined that “Defendants should have an

opportunity to hear from the MAS expert with firsthand knowledge (i.e., Hess) of

what was done.” Id. at 4. The Special Master further stated that a reason for the

deposition of Mr. Hess was that “defendants are not required to accept at face value

that Longo’s written methodology was followed.” Id.

       The Special Master found persuasive that: “Mr. Hess is the one making all the

key decisions. He’s the one determining the particle’s color and matching it to its

corresponding RI value - the critical step in the analysis…. As part of that, he is the

one choosing what area of the particle to use for the color match.” Id. at 5.

       Therefore, because “this MDL involves issues of paramount importance to the

defendants, general public, and the over 50,000 plaintiffs,” “[p]laintiffs, as well as

defendants, should have a complete record to decide the important issues being

litigated.” Id.

       When explaining why exceptional circumstances warranted Mr. Hess’s

deposition, the Special Master stated: “since MAS’s testing methodology changes

as more research is done, exceptional circumstances exist to depose Hess because it

will likely be difficult or impossible to recreate the exact conditions that existed

when Hess’s tests were done.” Id. at 6. The Special Master was further persuaded

that “exceptional circumstances was not even the proper test ‘where a testifying

expert and his assistant closely collaborate,’” as was the case with Mr. Hess. Id. at 7


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(citing TCL Commc’n Tech. Holdings Ltd. v. Telefonaktenbologet LM Ericsson,

2016 WL 6662727, at *4 (C.D. Cal. July 7, 2016); Herman v. Marine Midland Bank,

207 F.R.D. 26, 31 (W.D. N.Y. 2002); and Derrickson v. Cir. City Stores, Inc., 1999

WL 1456538, at *7-8 (D. Md. Mar. 19, 1999)).

      The Special Master concluded that “defendants have shown that Hess and

Longo closely collaborated, that Longo substantially relied on Hess, and that Hess

made key decisions regarding how Longo’s tests were conducted and interpreted.”

Id.

II.   The Extreme Limitations The Special Master Placed On The Deposition
      Are Inconsistent And Unjustified
      After granting an unrestricted deposition of Mr. Hess in his first opinion, the

Special Master put severe restrictions on the deposition in his second opinion. Those

restrictions are inconsistent with his prior ruling, internally inconsistent, not

supported by any reasoning, and unwarranted.

      As discussed above, the Special Master’s original opinion stated multiple

times that Mr. Hess is an expert, and the expert Dr. Longo relies on. ECF 32817 at

2 (“[D]efendants’ subpoena seeks to depose Paul Hess, a non-testifying expert. . .

.”); id. at 3 (“Hess, not Longo, has decades of experience doing PLM testing?); id.

(calling Mr. Hess “the expert Longo will rely upon”).1

1
 Plaintiffs themselves said three times the deposition of Mr. Hess constituted
discovery “from a non-testifying expert.” ECF 32195 at 1; ECF 32195-1 at 8, 11.


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      The Special Master also explained in the opinion that the “the how and why

of the testing” was to be “covered at Hess’s deposition” since it is “important

testimony.” Id. at 3 (emphasis added). And a purpose of the deposition of Mr. Hess

was that he could “explain the basis for MAS’s findings.” Id. at 4. Explaining not

just the “how” but the “why” of the testing along with explaining the basis for MAS’s

findings necessarily calls for Mr. Hess’s expert testimony.

      But then in his second order, the Special Master stated that “the SM did not

authorize Hess to be deposed as if he were a testimonial expert” and while “Hess is

likely to qualify as a microscopist expert in polarized light microscopy, this does not

mean the SM authorized Hess to be deposed in this capacity.” ECF 33067 at 2. This

limitation is not mentioned, much less even hinted at, in the original opinion. And

in neither order did the Special Master ever provide any reasoning supporting this

distinction.

      Along the same lines, the Special Master stated that he “ruled that Hess’s

deposition was authorized to fill in the factual gaps.” Id. at 2. That is simply not true.

The Special Master originally ruled that it was “important” for Mr. Hess to cover the

“why” of his testing and that he was to “explain the basis for MAS’s findings.” No

interpretation of that opinion could limit the deposition to “factual gaps.” Again, the


The Special Master even quoted that argument from Plaintiffs in the order granting
the deposition. ECF 32817 at 2-3. (“Plaintiffs also claim that defendants’ subpoena
‘seeks discovery from a non-testifying expert. . . .’”) (quoting ECF 32195 at 1).

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Special Master did not provide any rationale for this limitation, he simply stated he

had already ruled that way.

      After stating in his original order that Mr. Hess was an expert and stating in

his second order that Mr. Hess was not to be deposed in that capacity, the Special

Master then stated later in the second order that “plaintiffs are mistaken if they

believe the appropriate demarcation line to use regarding Hess’s testimony is

whether he offers an ‘expert opinion.’” Id. at 4. That concession makes the

unreasoned limitation to only “factual gaps” completely unsupportable.

      While the Special Master originally stated that the “the how and why of the

testing” would be “covered at Hess’s deposition” (ECF 32817 at 2), in his second

order he stated that only “‘how and why’ questions [that] fit into the[] parameters”

of the new limitations he ordered would be permitted (ECF 33067 at 3). That is a

sea change without any explanation. And more importantly, the limitations the

Special Master placed prevent defendants from asking any “why” questions and

numerous “how” questions—without any basis or rationale.

      Most egregiously, the Special Master prohibited “questions asking Hess to

compare test results.” Id. at 2. That limitation led to page-line rulings that are

inconsistent with his statements earlier in the order that Mr. Hess could be asked

about factual issues. And as discussed in more detail below, that restriction prevents




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Defendants from understanding how Mr. Hess is conducting his methodology in

ways that only he knows.

      For example, the Special Master prohibited Defendants from showing Mr.

Hess a demonstrative of a PLM image and asking simply whether his microscope is

capable of producing an image that bright. See infra § II.C. The capabilities of his

microscope is a factual issue. There is no one better to ask that question to than Mr.

Hess who is the one controlling the illumination on the microscope, looking down

the microscope, and taking the images that were produced to Defendants. Yet

Defendants are prohibited from asking that question, and the Special Master

provided no explanation for why this limitation should be imposed.

      The Special Master tried to reconcile his two orders by saying his original

opinion mentioned the importance of Mr. Hess’s “firsthand knowledge” of the

testing. ECF 33067 at 2-3. But all the questions the Special Master prohibited

Defendants from asking did go to Mr. Hess’s firsthand knowledge. In the example

above, the question called for an answer about Mr. Hess’s firsthand knowledge of

his illumination settings.

      Every single question defense counsel asked at the deposition was relevant to

the PLM-chrysotile testing at issue in this MDL that Mr. Hess himself conducted.

No question should have been prohibited.




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      A.     Questions That Touch On Mr. Hess’s Own Prior Testing In This
             MDL

      In the first round of MDL testing, Mr. Hess tested dozens of samples of

Defendants’ talc by PLM and did not find chrysotile. The central question at issue

for the current iteration of PLM testing is: Why is MAS all of a sudden finding

chrysotile now in nearly every bottle when previously they never found it at all?

      The only rationale the Special Master has ever given for prohibiting this

question is stating when he was called to the deposition that Defendants “didn’t say

anything about asking him to compare old to new” in their briefing for why a

deposition was warranted. Ex. W at 43:16-17. That is simply not true. Defendants’

original brief seeking this deposition specifically argued on page 1 that Dr. Longo

was now finding “a type of asbestos he previously had never found in any of his

prior testing.” ECF 32683 at 1. Nor should Defendants need to identify every single

question they intend to ask in order to obtain a deposition of this critical witness.

      The fact that Mr. Hess did not find chrysotile in his prior PLM work but now

finds with his new method goes directly to “the how and why” of the new

methodology. ECF 32817 at 3. Why is Mr. Hess only finding chrysotile for the first

time beginning in 2020 and how has the methodology changed to accomplish that?

Those questions are at the heart of the critical issues about the new PLM

methodology at issue. The questions’ relevance and importance does not change just

because those questions about the new methodology by their nature touch on prior


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work and involve a “comparison.” That the prior work was done by Mr. Hess and in

this very MDL makes them all the more relevant to the issues at hand.

       Questioning on this topic at the bare minimum goes to the factual issues that

the Special Master ruled could be asked about: How has Mr. Hess’s methodology

changed? That is certainly within his “firsthand knowledge.” Yet the Special Master

nevertheless ruled that Defendants could not ask any questions on this topic under

his invented “no-test-comparison” rule.

       B.    Questions That Touch On Mr. Hess’s Other Prior Talc Testing
       Similarly, Defendants wanted to ask Mr. Hess about the illumination and

coloring in the new PLM methodology at issue in this MDL that touches on prior

testing Mr. Hess himself conducted of another company’s product.

       As Defendants explained in their original briefing to the Special Master, Mr.

Hess is making “smaller but still important decisions” such as “controlling the

illumination.” ECF 32683 at 12. Defendants calso explained that it “appears as if

Mr. Hess is not using enough light intensity, which would distort the color the

particles appear and therefore distort the entire analysis.” Id.

       Below are images of Mr. Hess’s testing of another company’s talc and his

testing of sample M70484 (Zimmerman) that is part of Dr. Longo’s report in this

MDL.




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            Other Company                      Sample M70484 (Zimmerman)




           Date: 1/9/2020                             Date: 2/21/2020
          Analyst: Paul Hess                         Analyst: Paul Hess
            Sample: Talc                               Sample: Talc
              Oil: 1.550                                 Oil: 1.550

Ex. X, Vanderbilt vs. M70484 (Dep. Ex. 8).

      Both are images of talc that Mr. Hess took using the same oil only a little over

a month apart. Yet the illumination levels and coloring look completely different.

The Special Master prohibited any questions on this topic as well.

      Again, this goes directly to “the how and why” of the testing. See ECF 32817

at 3. Defendants want to know how the microscope for this MDL was set up

differently than testing of talc in the same time period and why the microscope

settings were changed. See Ex. W, Hess Dep. 71:11-21. The Special Master even

prohibited the question: “[W]as the microscope set up differently in these two

analyses?” Again, some of these questions go directly to factual issues of How Mr.




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Hess has changed his lighting settings within his “personal knowledge,” but the

Special Master nevertheless prohibited any questioning into this topic.

      Mr. Hess is the person who actually knows the answer to these issues because

he is the one who is actually sitting at the microscope controlling its settings. If the

microscope settings are being changed to change the results, that is incredibly

important, relevant, and directly within Mr. Hess’s knowledge (and maybe only Mr.

Hess’s) knowledge. Yet under the “no-test-comparison” rule, Defendants have no

way to understand these critical issues.

      Just because a question touches on Mr. Hess’s prior work should not mean it

is out of bounds. For some issues a “comparison” the best way to understand how

Mr. Hess is using his microscope in the PLM testing at issue in this MDL and why

he is using the microscope in that way.

      C.     Questions Regarding Illumination And Color Filtering
      The Special Master ruled that Mr. Hess could be asked “if he used the

maximum illumination settings” ECF 33067 at 7. He already answered that question

and claimed he was using the maximum settings. Ex. W, Hess Dep. at 88:1-3. But

Defendants need not simply accept what Mr. Hess says at face value, the Special

Master prohibited Defendants from probing the accuracy and veracity of Mr. Hess’s

assertion.




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      Mr. Hess was shown as a demonstrative a sample PLM image that is plainly

brighter than Mr. Hess’s own PLM imaging in this MDL:

   Demosntrative PLM Talc Image                 Mr. Hess. MDL Talc Image




Ex. Y, PLM Image (Dep. Ex. 23); Ex. F, PLM Image in Valadez Report at 82

(Dep. Ex. 14);

      Mr. Hess was simply asked the question: “Is your Leica microscope able to

take images that are as bright as what we’re seeing here?” Ex. W, Hess Dep. at

147:24-148:1. The Lecia microscope is the one Mr. Hess is currently using for the

testing at issue in the MDL. See, e.g., Ex. F, M71614-001/Valadez Rpt. (Dep. Ex.

14) at 18. He was instructed not to answer on the grounds that it “calls for expert

testimony.” Ex. W, Hess Dep. at 148:19-22. Mr. Hess is the one controlling the

illumination settings and taking the images. That is a factual question about the

capabilities of his microscope in his personal knowledge, yet again the Special

Master prohibited the questioning under his “no comparison rule.”




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      As defense counsel explained in the deposition, this question fell squarely

within the scope of appropriate questioning since Mr. Hess was being asked “about

his microscope, his illumination settings, what he sees under the microscope,” and

“whether his microscope that he knows and he works with is capable of producing

an image at this illumination level.” Id. at 148:23-149. The question goes directly

to the “how and why” the illumination levels of Mr. Hess’s images are the way

they are. See ECF 32817 at 3. Why are the brightness levels too low and how did

they get that way through the microscope’s settings?

      Similarly, polarized light microscopes can use filters in order to normalize

coloring to ensure that the colors the analyst is seeing is an accurate representation

of what the particles look like and not, for example, distorted by external light

sources. Indeed, the ISO 22262-1 method that MAS claims is being followed in the

testing in this MDL states that a blue “daylight” filter must be used. Ex. AA, ISO

22262-1 at 15, 25. So Mr. Hess—the person with nearly 40 years of PLM experience

who Dr. Longo relies on for the testing at issue in the MDL—was asked: “Do you

know what the purpose is of a blue light or a daylight filter?” Ex. W, Hess Dep. at

65:19-20. He was instructed not to answer on the grounds that it “calls for expert

testimony.” Id. at 65:23-66:1.

      In his original order, the Special Master pointed out that “defendants are not

required to accept at face value that Longo’s written methodology was followed.”


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ECF 32817 at 4. The method at issue calls for a use of this filter. In seeking to know

“the how and why” of the testing, see ECF 32817 at 3, Defendants wanted know not

just how the testing was conducted (whether such a filter was being used), but also

if the reason why the filter was not being used is due to Mr. Hess’s awareness of its

purpose. Does he not know the purpose of using the filter or does he know its purpose

and is intentionally not using it? That is plainly a question within his “firsthand

knowledge.” It does not involve a comparison. Yet for unknown reasons, the Special

Master concluded this question could not be asked.

      D.     Questions Regarding The “Caldiria” Reference Sample That Is A
             Critical Component Of MAS’s PLM Methodology.
      Defendants explained in their original brief that “Mr. Hess is even the one

who came up with the idea of using a reference sample for a unique form of

chrysotile [known as Calidira] which Dr. Longo has claimed unlocked MAS’s ability

to identify chrysotile in talc.” ECF 32683 at 11 (citing Ex. BB, Longo Powers Dep.

75:24-76:3; Ex. CC, Longo Weiss Dep. at 22:7-15; Ex. E, Longo Clark Hr’g 36:10-

15, 159:8-16, 160:1-8).

      When asked whether he made the discovery that what MAS was finding in

cosmetic talc was like Calidria, Dr. Longo responded “I have to give credit where

credit is due. Mr. Hess came up with the suggestion.” Ex. BB, Longo Powers Dep.

75:24-76:3. Dr. Longo further explained that it was the dispersion staining colors of

Calidria that let MAS “figure[] out that was what we were seeing in the cosmetic


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talc” because “[i]f you don’t have that” “they would think it was fibrous talc.” Ex.

CC, Longo Weiss Dep. at 22:7-15. Dr. Longo’s theory is that other “laboratories out

there don’t understand what Calidria looks like, that’s why they’re . . . missing

chrysotile in all of these talc products.” Ex. E, Longo Clark Hr’g 160:1-8.

      Essentially, MAS took a sample of this form of chrysotile, put it under the

PLM microscope, and Mr. Hess himself took images of it. MAS then claims to

identify “chrysotile” supposedly by comparing the particles they find in Defendants’

talc to this reference sample created per Mr. Hess’s idea. Those images of the

reference sample were marked as Exhibit 25 to the deposition. Ex. DD, Calidiria

Reference Sample (Dep. Ex. 25).

      Mr. Hess was shown an image of MAS’s Calidiria reference sample that is a

component of the methodology at issue in this MDL that Mr. Hess supposedly

follows and an image from M71614-001 (the Valadez report) that is also part of Dr.

Longo’s 4th Supplemental Report in this MDL, as discussed above.




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Ex. EE, M71614-001/Reference Sample Comparison (Dep. Ex. 27); Ex. W, Hess

Dep. 178:2-9.

      “Mr. Hess was asked: Are you claiming those two – those two images have

the same dispersion staining colors?” Ex. W, Hess Dep. 178:20-22. He was

instructed not to answer. Id. at 179:4-7. Again, comparing the particles MAS

identified in Defendants’ talc to MAS’s Caldaria reference sample is what Dr. Longo

testified was the critical step in the analysis that allowed MAS to identify chrysotile

despite never finding it previously. Questions regarding how Mr. Hess is making

this comparison when he conducts the analysis is therefore unquestionably

appropriate and serve to “explain the basis” of methodology. Yet somehow the

Special Master still viewed this topic as falling under his “no-test-comparison” rule.

      Additionally, one of Defendants’ concerns about this reference sample is that

while the image contains huge swathes of chrysotile particles that appear blue, MAS

chose as its point of comparison an outlier particle that is a different, yellower color

that is likely an impurity in the sample (i.e. not chrysotile).




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See Ex. DD, Calidiria Reference Sample (Dep. Ex. 25); see also Ex. W, Hess Dep.

177:9-11 (acknowledging that all the blue is chrysotile).

      Whether the particle being used as the reference is actually chrysotile is

incredibly significant and clearly fair game for questioning considering that Mr.

Hess is the one who came up with the idea of this reference sample, took the images

of the sample, and that Dr. Longo claims using the sample as a point of comparison

is critical to the methodology. Yet when Mr. Hess was asked whether he was “aware

that Calidria can have impurities in it,” he was instructed not to answer. Id. at 177:12-

16.

      That question goes directly to the “how and why of the testing” that the

Special Master originally ordered was to be part of the deposition—i.e. why MAS is


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using a particle that is not representative of the rest of the sample. See ECF 32817 at

3 (emphasis added). Similarly, Mr. Hess was instructed not to answer why the color

of Calidria supposedly “changes” so “that sometimes when you’re finding it, it’s to

you golden yellow” instead of blue on the ground that it “[c]alls for expert

testimony.” Ex. W, Hess Dep. 159:18-23. While the Special Master stated,

“plaintiffs are mistaken if they believe the appropriate demarcation line to use

regarding Hess’s testimony is whether he offers an ‘expert opinion.’ (ECF 33067 at

4), the Special Master nevertheless prohibited questioning into this component of

the very methodology at issue in this MDL.

      E.      Questions Regarding The Chrysotile Reference Sample In The ISO
              22262-1 Methodology MAS Purports To Follow.

      MAS also purports to rely, at least in part, on a protocol from the International

Organization for Standardization (“ISO”) known as ISO 22262-1 for the testing in

this MDL. Ex. F, M71614-001/Valadez Rpt. (Dep. Ex. 14) at 3 (“The PLM analysis

used method ISO 22262-1. . . .”); Ex. FF, Longo Prudencio Dep. 26:9-11 (similar).

Part of that protocol contains reference images for what chrysotile is supposed to

look like using PLM, which looks very different that the particles MAS claims are

chrysotile.




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Ex. GG, Valadez/ISO Comparison (Dep. Ex. 17).

      As the graphic above shows, Mr. Hess treated the particle on the left which is

part of the testing in this MDL as purple corresponding to a wavelength of light that

is 560nm. Mr. Hess was asked whether the “the wavelength of light that you assigned

to this particle on the left that you’re calling chrysotile in Johnson & Johnson, you

are saying that it is even more purple than standard reference chrysotile depicted on

the right.” Ex. W, Hess Dep. 110:16-21. He was instructed not to answer that

question. Id. at 112:13-14.

      He was similarly instructed not to answer the question: “As a fact, factually,

you assigned a darker purple color to that particle on the left than standard reference

chrysotile.” Id. at 112:20-113:18; see also id. at 109:19-110:6 (Hess being instructed

not to answer whether “the refractive index number given for that particle by ISO is

1.556; that corresponds to magenta.”). Even though this question is based on the

protocol he is supposed to be following, the Special Master prevented Defendants



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from getting an answer since it is a supposed “comparison.” The ruling didn’t change

even when framed as a factual question.

      F.     Questions Regarding Dr. Su And Dr. Wyle’s Review Of Mr. Hess’s
             Work

      It is basic deposition practice for a party to ask about the materials used to

prepare a witness for his deposition. Yet the Special Master prohibited even those

questions.

      In preparation for his deposition, Mr. Hess reviewed the reports of defense

experts Dr. Shu-Chun Su and Dr. Ann Wylie from this MDL. Ex. W, Hess Dep. at

18:22-25. These are reports explaining defense experts’ views of why Mr. Hess’s

analysis in this MDL is flawed and otherwise incorrect. But when Mr. Hess was

asked if he had any comments on their reviews of his work, he was instructed not to

answer. Id. at 84:12-85:16. The reasons Mr. Hess—who has the relevant expertise

who conducted the analysis at issue—thinks that defense criticisms of his own

testing are wrong is at the heart of the deposition.

      If Mr. Hess thinks those criticisms are correct and that he is not using the PLM

microscope correctly and not identifying chrysotile, then these reports should not be

in the case. Presumably Mr. Hess has some response to justify “the basis for MAS’s

findings” that the Special Master ruled was part of the purpose of the deposition. See

ECF 32817 at 4. Defendants are left without any way to know what those responses

may be.


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      Plaintiffs themselves put these reports in play by using them in Mr. Hess’s

deposition preparation. It is fundamentally unfair for Mr. Hess to review those

materials to prepare but then not be permitted to answer any questions about those

very materials. If Plaintiffs did not want him to answer questions about those reports,

they should not have given them to him to read.

      G.     Questions Regarding The Effect Of Switching Oil
      For the tests at issue in this MDL, MAS changed the type of oil used to coat

the sample from “1.550 oil” to “1.560 oil.” See Ex. F, Longo Valadez Report at 18-

19 (discussing change from 1.550 oil to 1.560 oil); compare also Ex. HH, Longo

Zimmerman Report at 50 (1.550) with Ex. F at 34 (1.560 oil). The oil type affects

the critical issue of what color the particle appears. But that change did not change

the color of the particles in the way that would be expected if the particles were

actually chrysotile.

      So Mr. Hess was asked: “What is the expected effect of switching to . . . 1.560

oil?” Mr. Hess was instructed not to answer on the ground that it “calls for an expert

opinion.” Ex. W, Hess Dep. at 91:9-12. To drill down on this issue, Mr. Hess was

also asked: “[I]f I have a particle that is orange in parallel in 1.550 and I change my

oil to 1.560, it should appear more magenta, right?” Id. at 98:12-15. He was again

instructed not to answer on the grounds that it “[s]eeks expert opinion.” Id. at 98:19-

23. The Special Master prohibited all these questions on the ground that they were



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“hypotheticals.” But Mr. Hess did change oil. That the change in oil did not have the

effect it would have if the particles MAS identified are truly chrysotile is directly

relevant to Mr. Hess’s testing in this MDL.

       H.     Other Questions Regarding Mr. Hess’s Testing.
       The instructions not to answer were so numerous, that they applied to wide

variety of other questions that do not neatly fall into the categories above. See, e.g.,

Ex. W, Hess Dep. at 57:2-12 (being instructed not to answer: “Do the central stop

dispersion staining colors of talc plates themselves in 1.550 oil include the color

red?”); id. at 103:5-15 (“Are you familiar with the fact that you can -- that even with

Cargille glass that has a single refractive index, you can sometimes see edge colors

that don't correspond to that refractive index?”); id. at 141:7-10 (being instructed not

to answer: “[D]o you know how to perform a Becke line analysis?”); id. at 158:19-

23 (being instructed not to answer “So the whole reason why dispersion staining can

be used is because minerals have defined refractive indices, right?”); id. at 162:5-8

(being instructed not to answer: “Are you familiar with any published reference

values for the refractive indices of talc in parallel, in talc -- elongated fiber of talc in

parallel?”). All the instructions not to answer the Special Master upheld were

improper and should not have been permitted.

                                           ***




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      Mr. Hess’s expertise is inherently at issue in the deposition. As the Special

Master concluded at least at first: “Hess, not Longo, has decades of experience doing

PLM testing and is the expert Longo will rely upon to support his opinion that

defendants’ talc products contained asbestos.” ECF 32817 at 3. The “why” of the

testing is “important testimony.” Id. And Mr. Hess’s “work and testing is critical to

Longo’s conclusion.”

      Mr. Hess is in fact doing all the work. Mr. Hess is the one looking down the

microscope. Mr. Hess is the one determining what particle to evaluate. Mr. Hess is

the one ascertaining the particle’s color. Mr. Hess is the one assigning an “RI value”

to the particle based on the color which helps determine the mineral type. Mr. Hess

is the one making the decision that the particle is supposedly “chrysotile.” Mr. Hess

is the one taking the image of the particle that is produced to Defendants. That leaves

little to nothing for Dr. Longo to actually do. Plaintiffs cannot claim that Dr. Longo

reviews the imaging to independently verify Mr. Hess’s results because Dr. Longo

repeatedly testifies that he cannot verify the testing results based on the imaging and

that the only way he can conduct the analysis is looking live down the microscope

(which he does not do). Defendants already provided numerous examples of this

testimony to the Court in their objections to the denial of a request for an inspection,

(which Defendants incorporate herein by reference). See ECF 32872-1 at 17-18; see

also 32817 at 3 n.4.


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       Mr. Hess—someone with decades of PLM experience who actually conducted

the relevant tests—should be able to answer basic questions about that testing.

Plaintiffs’ machinations to avoid inquiry into this topic all beg the questions: What

are Plaintiffs afraid of? What are they hiding? What mischief is afoot in MAS’s

testing?

       Defendants are entitled to an unrestricted deposition of the actual expert

forming the opinions. So severely limiting a deposition of Mr. Hess means the PSC

can manipulate the expert process and shield their experts’ work to ensure that

Defendants never get to depose the actual expert who did the actual testing that forms

the basis of their case defining theory. Indeed, the Special Master expressly ruled

that Mr. Hess “did not authorize Hess to be deposed as if he were a testimonial

expert.” ECF 33067 at 2. That is fundamentally unfair and should not be permitted.

       The questioning was all relevant. It was proportional to the needs of the case—

going to a critical issue. And it imposed no burden on Mr. Hess. There was no basis

to limit his deposition in any way.

III.   In The Alternative Dr. Longo’s Chrysotile Report Should Be Stricken.
       “If a party fails to provide information or identify a witness as required by

Rule 26(a) or (e), the party is not allowed to use that information or witness to supply

evidence on a motion, at a hearing, or at a trial, unless the failure was substantially

justified or is harmless.” Fed. R. Civ. P. 37(c)(1). Courts have discretion to preclude



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a party’s expert if the opposing party lacked the opportunity to depose the expert and

test the veracity of the expert’s statements and opinions. See In re Conagra Foods,

Inc., 90 F. Supp. 3d 919, 958 (C.D. Cal. 2015); see also Apple Inc. v. Samsung Elecs.

Co., No. 11-cv-1846, 2016 U.S. Dist. LEXIS 17596, at *59-60 (N.D. Cal. Feb. 10,

2016). Without a meaningful opportunity to depose the actual expert doing all the

work, MAS’s PLM-chrysotile testing should be stricken.

      Defendants were prejudiced because despite requesting the deposition in April

in the middle of expert discovery, Defendants were not able to fully depose Mr. Hess

by the time of the Rule 702 motion deadline. In any continued deposition, Mr. Hess

now has an improper preview of many of the questions Defendant intend to ask him.

Additionally, Defendants will have to expend twice the effort to depose Mr. Hess

than they should have because of Plaintiffs’ conduct in the deposition.


                                  CONCLUSION
      The Court should overrule the Special Master’s Decision to limit the

deposition testimony of Mr. Hess, and Order an unrestricted deposition of Mr.

Hess, and, in the alternative, preclude Plaintiffs from relying on MAS testing

conducted by Mr. Hess.




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 Dated: August 20, 2024              Respectfully submitted,

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                        CERTIFICATION OF SERVICE

      I hereby certify that on August 20, 2024, a true and correct copy of the

foregoing objections was filed electronically. Notice of this filing will be sent by

operation of the Court’s electronic filing system to all parties indicated on the

electronic filing receipt. Parties may access this filing through the Court’s system.

      I hereby certify that on August 20, 2024, a true and correct copy of the

foregoing objections was sent via email to counsel for Mr. Hess, Eric Ludwig, Esq.


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